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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WISCONSIN
                                          120 North Henry Street
                                       Madison, Wisconsin 53703-0432

                                 APPEAL INFORMATION PACKET

Enclosed in this packet you will find 2 forms:

1. Seventh Circuit Transcript Information Sheet
       The appellant shall complete a transcript form whether or not a transcript is ordered. Return the form
       to the DISTRICT COURT at the above address. If you are a Filing User in CM/ECF, you may
       file the completed form electronically under the event, “Transcript Request Form”, located in
       the Appeals Documents category. If you are a CJA appointed attorney, please contact our office
       for a CJA 24 form or print it from the district court website at http://www.wiwd.uscourts.gov.

2. Docket Sheet
       The docket sheet is available through PACER. The docket sheet lists all the pleadings, hearings,
       depositions, and transcripts filed in this case. (Only sent to pro se appellants.)


PLEASE REVIEW CIRCUIT RULE 10
     This rule explains the preparation of the record that is sent to the appeals court. Federal Rules
     of Appellate Procedure & Seventh Circuit Rules are located at http://www.ca7.uscourts.gov.

PLEASE REVIEW CIRCUIT RULE 3(c)(1)
     This rule explains the DOCKETING STATEMENT.

PLEASE REVIEW CIRCUIT OPERATING PROCEDURE 10
     This rule explains that documents sealed in the district court will become a public record on appeal
     unless sealed by that court or pursuant to statute or rule of procedure.


EXHIBITS
     Counsel must ensure that exhibits to be included in the record that are not in the possession of the
     district court clerk are furnished to the clerk within fourteen days after the filing of the notice of
     appeal. Counsel will be responsible for sending bulky exhibits to the court of appeals. Please contact
     the clerk’s office with any questions.

REFER QUESTIONS TO:              Clerk’s Office         or        U.S. Court of Appeals
                                 for the Western                  for the Seventh Circuit
                                 District of WI                   (312) 435-5850
                                 (608) 264-5156




August 2013
                                        Clear Form              Save Form
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                               SEVENTH CIRCUIT TRANSCRIPT INFORMATION SHEET
 PART I – M ust be com pleted by party or party’s attorney pursuant to Rule 10(b) of the Federal R ules of Appellate Procedure and
 R ule 11(a) of the C ircuit R ules. T he appellant m ust file this form with the court reporter within 14 days of filing the notice of appeal,
 whether transcript is being ordered or not. (FR AP 10(b)(1)) Satisfactory arrangem ents with the court reporter for paym ent of the
 costs of the transcripts m ust also be m ade at that tim e. (F R AP 10(b)(4)) (N ote: Appellees as well as appellants are expected to
 use this form when ordering transcripts.)

 Short Title                                                              District                              D.C. Docket No.


                                                                          District Judge                        Court Reporter


        I am ordering transcript.
                                                                          Sign below and return original and one copy to court reporter.
        I am not ordering transcript because:                             D istribute rem aining copies to the C lerk of the District C ourt
                                                                          and opposing party, retaining one copy for yourself.
        T he transcript has been prepared.

 Indicate proceedings for which transcript is required. Dates m ust be provided:                                            D ate(s)

           Pretrial proceedings. Specify:

           Voir D ire

 T rial or H earing. Specify:

           O pening statem ent

           Instruction conference

           C losing statem ents

           C ourt instructions

           Post-trial proceedings. Specify:

           Sentencing

           O ther proceedings. Specify:



 M ethod of P aym ent:           C ash                               C heck or M oney O rder                        C .J.A. Voucher
 Status of P aym ent:            Full Paym ent                       Partial Paym ent                               N o Paym ent Yet

 Signature:             s/                                                                            T elephone N o.
 Address:
                    _________________________________________________________                         Date: __________________________


 PAR T II – M ust be com pleted by C ourt R eporter pursuant to Rule 11(b) of the F ederal R ules of A ppellate P rocedure. By signing
 this Part II, the C ourt R eporter certifies that satisfactory arrangem ents for paym ent have been m ade.

 U.S.C.A. Docket No.                     Date Order Received              Estimated Completion Date             Estimated Length




                                    s/
 Signature of C ourt R eporter:                                                                        D ate:

 N O T IC E: T he Judicial C onference of the United States, by its resolution of M arch 11, 1 98 2, has provided that a penalty of 10
 percent m ust apply, unless a waiver is granted by the C ou rt of Appeals’ C lerk , when a “transcript of a case on appeal is not
 delivered within 30 days of the date ordered and paym ent received therefor.” T he penalty is 20 percent for transcript not delivered
 within 60 days.
O riginal to C ourt R eporter. C opies to:      U .S.C .A. C lerk   Service Copy     District Court Clerk and to      Party / Counsel
O rdering T ranscript.                           Clear Form                          Save Form
